
		
				STATE ex rel. OKLAHOMA BAR ASSOCIATION v. REEDY2022 OK 62Case Number: SCBD-7268Decided: 06/20/2022THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2022 OK 62, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION.

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State of Oklahoma ex rel. Oklahoma Bar Association, Complainant,
v.
James Darrell Reedy, Respondent.



ORDER OF IMMEDIATE INTERIM SUSPENSION



¶1 The Oklahoma Bar Association (OBA), in compliance with Rules 7.1 and 7.2 of the Rules Governing Disciplinary Proceedings (RGDP), forwarded to this Court certified copies of the following: Indictment, Explanation of Rights and Plea of Guilty, Plea Agreement, Felony Sentencing Order and Order of Probation filed in State of Alabama v. James D. Reedy, in the District Court of Baldwin County, State of Alabama, Case No. CC-2017-900105.

¶2 On March 21, 2018, Respondent entered a plea of guilty to manslaughter, under Section 13A-6-3 of the Code of Alabama 1975, a felony. The Alabama Court sentenced Respondent to 180 months, or until March 21, 2033. It was a split sentence wherein Respondent was required to serve 18 months in the Department of Corrections' custody and the remainder of the sentence was suspended with Respondent placed on probation for 36 months immediately following his release from incarceration.

¶3 RGDP 7.3 provides: "Upon receipt of the certified copies of Judgment and Sentence on a plea of guilty, order deferring judgment and sentence, indictment or information and the judgment and sentence, the Supreme Court may by order immediately suspend the lawyer from the practice of law until further order of the Court." Having received certified copies of these papers and orders, and in view of the prior conduct resulting in discipline, this Court orders that James Darrell Reedy is immediately suspended from the practice of law. James Darrell Reedy is directed to show cause, if any, no later than July 5, 2022, why this order of interim suspension should be set aside. See RGDP Rule 7.3. The OBA has until July 20, 2022, to respond.

¶4 Rule 7.2 of the RGDP provides that a certified copy of a plea of guilty, an order deferring judgment and sentence, or information and judgment and sentence of conviction "shall constitute the charge and be conclusive evidence of the commission of the crime upon which the judgment and sentence is based and shall suffice as the basis for discipline in accordance with these rules." Pursuant to Rule 7.4, James Darrell Reedy has until August 4, 2022, to show cause in writing why a final order of discipline should not be made. The written return of the lawyer shall be verified and expressly state whether a hearing is desired. The lawyer may in the interest of explaining his conduct or by way of mitigating the discipline to be imposed upon him, submit a brief and/or any evidence tending to mitigate the severity of discipline. The OBA has until August 19, 2022, to respond.

¶5 DONE BY ORDER OF THE SUPREME COURT in conference on June 20, 2022.


/S/CHIEF JUSTICE


ALL JUSTICES CONCUR.






